                  EXHIBIT 1




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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

FREDRICH GREEN, on behalf of
himself and others similarly
situated,                                          Civil Action No. 1:18-cv-1032

                Plaintiff,

vs.

AMAZON.COM, LLC,
AMAZON LOGISTICS, INC., and
VALDIVIA LOGISTICS, LLC,

                Defendants.


              FLSA COLLECTIVE ACTION SETTLEMENT AGREEMENT

       1.      This FLSA Collective Action Settlement Agreement (“Settlement Agreement,”
“Settlement,” or “Agreement”) is entered into between Plaintiff Fredrich Green (“Plaintiff”),
individually and on behalf of the Settlement Collective defined below, and Defendants
Amazon.com, LLC, Amazon Logistics, Inc. (collectively “Amazon”), and Valdivia Logistics
LLC, f/k/a CAV Logistics LLC d/b/a Cavalier Logistics LLC (“Valdivia”) (collectively,
“Defendants”), subject to the approval of the Court. Plaintiff and Defendants are referred to
individually as a “Party” and together as the “Parties.”

                               RECITALS AND BACKGROUND

       2.     Plaintiff, who worked as a Delivery Associate (“DA”) in North Carolina, filed the
above-captioned lawsuit in the United States District Court for the Middle District of North
Carolina on December 18, 2018, alleging Defendants failed to pay its DAs overtime compensation
when they worked more than 40 hours in a workweek in violation of the Fair Labor Standards Act,
29 U.S.C. § 201, et seq. (“FLSA”).

        3.      In March 2019, the Parties agreed to stay Plaintiff’s lawsuit so that they could
participate in an alternative dispute resolution process in an effort to resolve Plaintiff’s collective
action claims. The parties filed a Motion to Stay Pending Private Mediation with the Court on
March 14, 2019 (ECF No. 13), which the Court granted on April 24, 2019 (ECF No. 24.).

       4.      On April 22, 2020, the Parties participated in a full day mediation before Stephen
Sonnenberg of JAMS, an experienced wage and hour mediator. Prior to the mediation, Valdivia
provided Plaintiff’s Counsel with Valdivia’s payroll data and timekeeping data, and Amazon
provided its delivery data (referred to as “Rabbit” data) for DAs who were paid by Valdivia and
delivered packages to customers of Amazon.com, which Plaintiff’s Counsel reviewed and
analyzed extensively. The Parties engaged in numerous meet and confer sessions regarding the


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facts and data prior to the mediation.

        5.     As a result of the mediation and continued arm’s length negotiations between
March 2019 and June 2020, the Parties agreed to settle Plaintiff’s claims according to the terms of
this Settlement Agreement.

        6.      Plaintiff’s Counsel has made a thorough and independent investigation of the facts
and law relating to the allegations in this lawsuit. In agreeing to this Settlement Agreement,
Plaintiff has considered: (a) the facts developed during the mediation process and the law
applicable thereto; (b) the risks of continued litigation; and (c) the desirability of consummating
this Settlement according to the terms of this Settlement Agreement. Plaintiff has concluded that
the terms of this Settlement Agreement are fair and reasonable, and that it is in the best interests
of Plaintiff and the Settlement Collective Members to settle their claims against Defendants as set
forth herein.

        7.       Defendants deny the allegations in this lawsuit and further deny any liability for
any alleged wage and hour violations or failure to pay overtime compensation. Amazon further
denies it is a joint employer of the DAs. Defendants are entering this Agreement to eliminate the
burden, risk, and expense of further litigation. This Settlement Agreement and all related
documents are not and shall not be construed as an admission by Defendants or any of the Released
Parties (as defined below) of any fault, liability, or wrongdoing, which Defendants expressly deny.

        8.     The Parties recognize that Court approval of this Settlement is required to effectuate
the Settlement, and the Settlement will not become operative until the Court grants approval of it
and the Settlement Effective Date occurs.

        9.      The Parties stipulate and agree that, for settlement purposes only, the requirements
for establishing collective action certification under the FLSA pursuant to 29 U.S.C. § 216(b) are
met with respect to the Settlement Collective Members as defined below. Should this Settlement
not be approved, such stipulation to conditional certification shall become null and void and shall
have no bearing on (or be admissible in connection with) the issue of whether conditional
certification would be appropriate in a non-settlement context.

        10.    In consideration of the foregoing and other good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, it is hereby agreed as follows.

                                         DEFINITIONS

       11.     The following terms used in this Agreement have the following meanings:

               a.      “Action” means the above-captioned lawsuit.

             b.      “Approval Order” means the Order approving the terms and conditions of
this Agreement, as may be modified by the Court.

                c.      “Check Cashing Period” means the period of 180 days after settlement
checks are initially issued by the Settlement Administrator to Settlement Collective Members.



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              d.      “Court” means the United States District Court for the Middle District of
North Carolina.

               e.    “Defendants” means Amazon.com, LLC, Amazon Logistics, Inc.
(collectively “Amazon”), and Valdivia Logistics LLC, f/k/a CAV Logistics LLC d/b/a Cavalier
Logistics LLC (“Valdivia”).

             f.     “Defendants’ Counsel” means Morgan, Lewis & Bockius LLP (for
Amazon) and Ellis & Winters LLP (for Valdivia).

              g.      “Gross Settlement Amount” means the sum of Two Hundred and Twelve
Thousand Five Hundred Dollars and Zero Cents ($212,500.00), which shall be the maximum
amount Defendants shall pay to settle this Action as set forth herein, except that Defendants shall
separately pay their own attorneys’ fees and costs, settlement administration costs, and the
employer’s share of payroll taxes.

               h.     “Named Plaintiff” or “Plaintiff” means Fredrich Green.

                 i.     “Net Settlement Amount” means the Gross Settlement Amount less: (i)
Seven Thousand Five Hundred Dollars ($7,500.00) to Plaintiff Green for his efforts in bringing
and prosecuting this matter and for his broader release of wage and hour claims in favor of
Defendants (“Service Award”); and (ii) Plaintiff’s Counsel’s attorneys’ fees not to exceed one-
third (1/3) of the Gross Settlement Amount, plus Plaintiff’s Counsel’s out-of-pocket costs that are
currently estimated to be $9,490; and (iii) a $5,000 Reserve Fund as defined and described herein.
These amounts are subject to the Court’s approval. The Net Settlement Amount shall include all
payments to Settlement Collective Members.

               j.       “Opt-In Plaintiffs” means individuals who as of the date of execution of
this Agreement have filed an Opt-In Consent Form with the Court. There are a total of three (3)
Opt-In Plaintiffs, including Plaintiff.

               k.     “Parties” means Plaintiff and Defendants.

               l.     “Plaintiff’s Counsel” means Berger Montague PC and Willig, Williams &
Davidson.

                 m.     “Qualified Settlement Fund” or “QSF” means the account established by
the Settlement Administrator and funded by the Defendants for the purpose of holding the Gross
Settlement Amount as well as funds paid by Defendants sufficient to enable the Settlement
Administrator to pay the employer’s share of payroll taxes and the Settlement Administrator’s fees
and costs, including those associated with Notice and distributing all approved amounts to the
proper individuals. Defendants agree that on the date of the Approval Order, one-half of the Gross
Settlement Amount will begin earning interest of no less than 2%, which interest will be included
in the payment made to the QSF upon funding. The QSF will be controlled by the Settlement
Administrator subject to the terms of this Agreement and the Court’s orders regarding approval.
Interest, if any, earned on the QSF will become part of the Gross Settlement Amount.

               n.     “Released Claims” means any and all Fair Labor Standards Act claims, and


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state wage and hour claims that accrued to the Settlement Collective Members while working for
Defendants at any time between August 22, 2018 through January 7, 2019, including, without
limitations, including but not limited to claims under the FLSA, North Carolina state law, and
Massachusetts state law, or any other federal, state or local wage and hour law, pertaining to the
alleged failure to pay for all hours worked, claims for unpaid wages (including overtime
compensation), claims for working through meal or rest periods, and related claims for liquidated
damages, interests, penalties, fees or costs, that were or could have been asserted in the Lawsuit
based upon the facts alleged in the operative complaint. The Released Claims shall be released
upon the signing, cashing, or depositing of a Settlement Award check. Defendants agree that this
Settlement Agreement may not be used to assert collateral estoppel, res judicata, waiver or any
other claim preclusion of FLSA claims with respect to individuals who did not specifically release
those FLSA claims; however, Defendants do not waive the right to assert other defenses to those
claims regarding timeliness, scope and/or applicability of exemptions.

                o.       “Released Parties” mean Amazon.com, LLC, Amazon Logistics, Inc., and
Valdivia Logistics LLC, f/k/a CAV Logistics LLC d/b/a Cavalier Logistics LLC, and each of their
respective present and former affiliates, divisions, members, joint venture partners, subsidiaries,
parents, predecessors, any merged entity or merged entities and/or its or their present and former
officers, partners, directors, employees, agents, attorneys, shareholders and/or successors, insurers
or reinsurers, employee benefit plans (and the trustees, administrators, fiduciaries, agents,
representatives, insurers and reinsurers of such plans), assigns, trustees, heirs, administrators,
executors, representatives and/or principals thereof, and all persons or entities acting by, through,
under, or in concert with any of them, and any individual or entity that could be jointly liable with
any of them.

               p.      “Relevant Time Period” means August 22, 2018 through January 7, 2019.

               q.      “Settlement Administrator” means CPT Group.

             r.       “Settlement Award” means the payment that each Settlement Collective
Member shall be entitled to receive pursuant to the terms of this Agreement.

               s.    “Settlement Collective Members” means: Plaintiff, Opt-In Plaintiffs, and all
current and former Delivery Associates who were paid by Defendant Valdivia to deliver packages
for customers of Amazon.com in the United States between August 22, 2018 through January 7,
2019. There are approximately 196 Settlement Collective Members.

                                           RELEASES

        12.    Settlement Collective Members’ Released Claims: In exchange for the
consideration set forth in this Settlement Agreement, upon signing, cashing, or depositing a
Settlement Award check, the Settlement Collective Members agree to release the Released Claims.
Settlement Collective Members, to the fullest extent allowed by law, are prohibited from asserting
any claims released by them in this Settlement, and from commencing, joining in, prosecuting, or
voluntarily assisting in a lawsuit or adversarial proceeding against the Released Parties, based on
claims released by them in this Settlement. The Notice of Settlement substantially in the form
attached at Exhibit A will advise that, by signing, cashing, or depositing a Settlement Award



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Check, the Settlement Collective Members further agree they will not opt-in, will withdraw any
opt-in, and will dismiss this action or themselves from the action in actions where they are a
claimant, plaintiff, or appellant, and will opt-out of those actions if they become aware of such
actions. Excluded from this prohibition are any instances where any individual is legally compelled
to testify through service of a subpoena or other process.

        13.     Named Plaintiff’s Released Claims: In exchange for the consideration set forth in
this Settlement Agreement, and in addition to the Released Claims, upon the Approval Order of
the Court, Plaintiff agrees to release and discharge Defendants and all other Released Parties
finally, forever and with prejudice, from any and all causes of action, claims, rights, damages of
any nature, penalties, liabilities, expenses, losses, and issues of any kind or nature whatsoever,
whether known or unknown, that Plaintiff has or may have against the Released Parties that arose
prior to the date on which he executed this Agreement including without limitation any claims
arising under the FLSA and any claims that were or could have been asserted in the Complaint
based on the facts alleged for alleged unpaid wages, overtime compensation, liquidated or other
damages, unpaid costs, restitution or other compensation or relief arising under applicable wage
and hour laws, as well as any claims, whether in law or equity, known or unknown, against
Released Parties relating to Named Plaintiff’s employment (or alleged employment or joint
employment) or termination of employment, including but not limited to claims arising under the
Americans with Disabilities Act, National Labor Relations Act, Equal Pay Act, Employee
Retirement Income Security Act of 1974, the Worker Adjustment and Retraining Notification Act,
Title VII of the Civil Rights Act of 1964, the Vocational Rehabilitation Act of 1973, the Civil
Rights Act of 1866, 1871, and 1991, including Section 1891 of the Civil Rights Act, the Family
and Medical Leave Act, North Carolina Equal Employment Practices Act, North Carolina Persons
with Disabilities Protection Act, North Carolina Civil Rights Law, North Carolina Lawful Products
Use Law, North Carolina Hemoglobin/Genetic Information Anti-Discrimination Law, North
Carolina Retaliatory Employment Discrimination Act, North Carolina Leave for Parent
Involvement in Schools Law, and/or any other federal, state, or local law, statute, regulation,
constitution, ordinance, and/or public policy, contract, or tort law, or any claim of retaliation under
such laws, or any claim of breach of any contract (whether express, oral, written or implied from
any source), or any claim of unjust enrichment, intentional or negligent infliction of emotional
distress.

Named Plaintiff acknowledges that he may have claims that are presently unknown based on
actions that took place prior to the date he executes this Agreement and that the release of Named
Plaintiff’s Released Claims contained in this Settlement Agreement is intended to and will fully,
finally, and forever discharge all claims against Defendants and the other Released Parties, whether
now asserted or not asserted, known or unknown, suspected or unsuspected, which now exist, or
heretofore existed, which if known, might have affected their decision to enter this release. Named
Plaintiff agrees that, although he may discover facts in addition to or different from those that are
currently known or believed to be true with respect to Named Plaintiff’s Released Claims, it is his
intention to fully, finally, and forever settle and release any and all Named Plaintiffs’ Released
Claims, without regard to the subsequent discovery or existence of such additional or different
facts.

Provided, however, that nothing in this Agreement prohibits Named Plaintiff from (1) filing a
claim or charge with a federal, state or local administrative agency, or (2) reporting,


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communicating directly with or providing information, including documents, not otherwise
protected from disclosure by any applicable law or privilege, to the Securities and Exchange
Commission (the “SEC”), the Occupational Safety and Health Administration (“OSHA”), the
Equal Employment Opportunity Commission (“EEOC”), or any other federal, state or local
governmental agency or commission regarding possible legal violations, without disclosure to the
Defendants, subject to the condition that once this Agreement becomes effective, Named Plaintiff
may not receive a monetary award in connection with any such charge or complaint that is filed or
is filed on Named Plaintiff’s behalf with the EEOC or state or local fair employment agency.
Named Plaintiff further agrees and acknowledges he has not made any claims or allegations related
to sexual harassment or sexual abuse, and none of the payments to him as set forth in this
Agreement are related to sexual harassment or sexual abuse.


                                  SETTLEMENT APPROVAL

       14.     Named Plaintiff shall file an Unopposed Motion to Approve Settlement with the
Court within fourteen (14) days following the execution of this Settlement Agreement, attaching
a copy of this Agreement.

       15.     The Motion to Approve Settlement will request that the Court approve the
Settlement as a fair and reasonable resolution of a bona fide dispute.

                    SETTLEMENT NOTICE AND IMPLEMENTATION

        16.     Within thirty (30) calendar days after the Approval Order, Defendants shall
electronically transfer the Gross Settlement Amount to the Settlement Administrator in the QSF.

              a.      The Parties agree to the creation of a QSF and that the QSF is intended to
be a “Qualified Settlement Fund” under Section 468B of the Internal Revenue Code and Treas.
Reg. §1.468B-1, 26 CFR § 1.468B-1, et seq., and will be administered by the Settlement
Administrator as such.

                b.      With respect to the QSF, the Settlement Administrator shall: (i) calculate,
withhold, remit, and report each Settlement Collective Member’s share of applicable payroll taxes
(including, without limitation, federal, state and local income tax withholding, FICA, Medicare
and any state or local employment taxes), and indemnify Defendants for any penalty arising out of
any error or incorrect calculation payroll taxes and/or interest with respect to any late deposit of
the same; (ii) calculate and remit the employer’s share of Employer Payroll Taxes for each
Settlement Collective Member’s share of all employer payroll taxes; (iii) satisfy all federal, state,
and local income and other tax reporting, return, and filing requirements with respect to the QSF;
and (iv) satisfy out of the QSF all taxes (including any estimated taxes, interest or penalties) with
respect to the interest or other income earned by the QSF. The fees, expenses, and costs incurred
in connection with the opening and administration of the QSF and the performance of the
Settlement Administrator’s duties and functions as described in this Agreement will be paid
separately as described herein. These tax services, fees, costs and expenses shall be treated as and
included in the costs of administering the QSF, which shall be paid by Defendants.



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               c.      The Parties and the Settlement Administrator shall elect to treat the
Settlement Fund as coming into existence as a Qualified Settlement Fund on the earliest date set
forth in 26 CFR §1.468B-1(j)(2)(i), and that such election statement shall be attached to the
appropriate returns as required by 26 CFR §1.468B-1(j)(2)(ii).

                d.     The Parties agree to cooperate with the Settlement Administrator and one
another to the extent reasonably necessary to carry out the provisions of this Section. The Parties
will require the Settlement Administrator to indemnify and hold harmless the Parties for and
against any claims or liabilities resulting from errors or omissions in its administration of the QSF.

        17.      Within ten (10) business days after the Approval Order, Valdivia shall provide to
Plaintiff’s Counsel and the Settlement Administrator database Microsoft Excel file containing the
names, last known addresses, last known telephone numbers (if any), last known email addresses
(if any), social security numbers or tax ID numbers of each FLSA Collective Member. (“Collective
List”). Prior to mailing the Settlement Awards, the Settlement Administrator shall use the National
Change of Address Database to update any addresses on the Collective List.

       18.    At least five (5) business days prior to mailing, Plaintiff’s Counsel shall provide the
Settlement Administrator and Defendants’ Counsel final settlement shares for each Settlement
Collective Member, which shall be calculated pursuant to the objective formula set forth in
Paragraph 21 utilizing the data previously provided by Defendants.

      19.    The Settlement Administrator shall be responsible for disbursing all Settlement
Awards and preparing, printing, and mailing the Settlement Notice to the Collective Members.

        20.     The Settlement Administrator shall set aside Five Thousand Dollars ($5,000.00) of
the QSF from the Gross Settlement Amount as a Reserve Fund (the “Reserve Fund”) for the
purpose of preserving these funds to account for disputed, belated, or unexpected payments to
Settlement Collective Members after Settlement Awards have issued during the Check Cashing
Period. Settlement Collective Members may contact the Settlement Administrator with questions
regarding their settlement shares. There is a rebuttable presumption that Defendants’ records are
correct, but Settlement Collective Members may, should they disagree with Defendants’ records,
provide documentation to show contrary information by no later than the conclusion of the Check
Cashing Period. Such a dispute shall be directed to the Settlement Administrator, who will notify
all Counsel of the dispute and promptly provide Counsel with a copy of the records provided by
the individual. All disputes arising under this paragraph must be resolved and reported no later
than thirty (30) calendar days after the Check Cashing Period and any disputes not resolved to the
satisfaction of all Counsel may be presented to the Court. The Reserve Fund shall be held by the
Settlement Administrator for a period of (100) one hundred days after the Check Cashing Period.
The Settlement Administrator. In the event that any funds remain in the Reserve Fund following
this period, such funds shall be sent to Legal Aid of North Carolina, as a cy pres recipient agreed
to by the Parties, subject to the Court’s approval.

        21.     The following objective formula shall be utilized by Plaintiff’s Counsel in
calculation of the settlement shares:

                        i. $100 per Settlement Collective Member will be deducted from the Net



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                           Settlement Amount prior to the determination of pro rata individual
                           settlement shares and allocated to each Settlement Collective Member
                           so that each Settlement Collective Member receives at least $100 in
                           exchange for their release in this Settlement Agreement.

                       ii. In addition to the $100 payment set out in (a) above, Settlement
                           Collective Members shall receive a pro rata portion of the Net
                           Settlement Amount as follows:

                               1. For each workweek during which the Settlement Class Member
                                  worked more than four (4) or more days during the Relevant
                                  Time Period, the Settlement Collective Member shall receive
                                  two (2) settlement shares, and if the workweek was performed
                                  in Massachusetts, the Settlement Collective Member shall
                                  receive three (3) settlement shares, in recognition of the
                                  additional penalties available under Massachusetts law.

                               2. The total number of settlement shares for all Settlement
                                  Collective Members will be added together and the resulting
                                  sum will be divided into the Net Settlement Amount to reach a
                                  per share dollar figure. That figure will then be multiplied by
                                  each Settlement Collective Member’s number of settlement
                                  shares to determine the Settlement Collective Member’s
                                  Settlement Award.

        22.    Subject to the Court’s Approval Order, Named Plaintiff shall receive a Service
Award of $7,500 for his efforts in bringing and prosecuting this matter and his broader release of
claims in favor of Defendants. The Named Plaintiff shall be issued a Form 1099 for this payment,
which shall be paid by the Settlement Administrator within five (5) business days after funding of
the Gross Settlement Amount.

        23.     Subject to the Court’s Approval Order, Plaintiff’s Counsel shall receive attorneys’
fees of one-third (1/3) of the Gross Settlement Amount, in compensation for all work performed
to date as well as all work remaining to be performed in the Action. In addition, Plaintiff’s Counsel
shall receive reimbursement of their out-of-pocket costs approved by the Court’s Approval Order.
The substance of Plaintiff’s Counsel’s request for attorneys’ fees and costs is considered separately
from the Court’s consideration of fairness and reasonableness of the settlement of the Action, and
the outcome of any proceeding the Court makes as to Plaintiff’s Counsel’s request for attorneys’
fees and costs shall not terminate this Agreement.

               a.    The payments of attorneys’ fees and costs shall be made on the date the
Settlement Administrator mails Settlement Awards to Settlement Collective Members, as provided
for in Paragraph 24.

              b.     The attorneys’ fees and costs paid pursuant to this Agreement out of the
Gross Settlement Amount shall constitute full satisfaction of Defendants’ obligations to pay
amounts to any person, attorney, or law firm for attorneys’ fees or costs in this Action on behalf



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of any Settlement Collective Member, and shall relieve Defendants from any other claims or
liability to any other attorney or law firm for any attorneys’ fees or costs to which any of them
may claim to be entitled on behalf of any Settlement Collective Member.

                c.     A Form 1099 shall be issued to Plaintiff’s Counsel by the Settlement
Administrator, and Plaintiff’s Counsel shall be solely and legally responsible for paying any and
all applicable taxes on the payment made to them

        24.     Within five (5) business days of receipt of the final Settlement share calculations
approved by the Parties, the Settlement Administrator shall mail all Settlement Awards to
Settlement Collective Members along with a Notice of Settlement substantially in the form
attached at Exhibit A, as approved by the Court. The Settlement Awards shall be checks that
contain a limited endorsement placed on the back of the check stating that by signing, depositing,
and/or cashing the settlement check the Settlement Collective Member agrees to opt in to this
collective action, defined by its caption and release the Released Claims as follows:

       By depositing or cashing this check, I am opting into and affirm my release of
       Amazon.com, LLC, Amazon Logistics, Inc., Valdivia Logistics, LLC, and all other
       Released Parties of my Released Claims as defined in the Settlement Agreement approved
       by the Court in Green v. Amazon.com, LLC, et al., 1:18-cv-1032 (M.D.N.C.). I affirm that
       I will not sue or assert any of the Released Claims, including FLSA claims, against any of
       the Released Parties.

The Settlement Administrator shall then provide a written certification of such payments to counsel
for the Parties.

        25.    Fifty percent (50%) of the Settlement Awards to Settlement Collective Members
shall be considered wages subject to the withholding of all applicable local, state, and federal taxes.
The Settlement Administrator shall make the required withholdings and shall issue an IRS Form
W-2 to each settlement Collective Member for these payments. Defendants shall pay the
employers’ side of taxes separate from the Gross Settlement Amount. The remaining fifty percent
(50%) of the Settlement Awards to Settlement Collective Members shall be considered liquidated
damages. The Settlement Administrator shall issue an IRS Form 1099-MISC to each Settlement
Collective Member for these payments.

        26.     All Settlement Award checks to Settlement Collective Members shall remain
negotiable for 180 days from the date they are issued and shall be accompanied by a cover letter
when they are sent to Settlement Collective Members. The Settlement Administrator shall send a
reminder letter via U.S. mail and email to those who have not yet cashed their settlement check
after 60 days, and may call those that have still not cashed their check to remind them to do so
within the last 60 days of the Check-Cashing Period. Any amounts from uncashed settlement
checks after the 180-day period will be paid back to Defendants in recognition of the fact that those
individuals who do not cash their settlement checks do not release any claims against the
Defendants.




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      27.    No person shall have any claim against Defendants, Plaintiff’s Counsel, or
Defendants’ Counsel based on distribution or payments made in accordance with this Settlement
Agreement.

                                       MISCELLANEOUS

       28.   No Retaliation. Defendants will not take any adverse action against any Settlement
Collective Member on the grounds that he/she is eligible to participate or does participate in the
Settlement.

       29.    No Admission of Liability. This Settlement Agreement and all related documents
are not and shall not be construed as an admission by Defendants of any fault, liability, or
wrongdoing.

       30.    Defendants’ Legal Fees. Defendants’ legal fees and expenses in this Action shall
be borne by Defendants.

        31.     Effect of Non-Approval. If the Court does not approve the Settlement as provided
herein, the Parties agree to engage in follow-up negotiations with the intent of resolving the Court’s
concerns that precluded approval, and, if feasible, to resubmit the settlement for approval within
thirty (30) days. If the Settlement is not approved as resubmitted or if the Parties are not able to
reach another agreement, then any Party may void this Agreement; at that point, the Parties agree
each shall return to their respective positions as existed on the day before this Agreement was
executed and this Agreement shall not be used in evidence or argument in any other aspect in the
Action.

        32.     Interim Stay of Proceedings. The Parties agree to hold in abeyance all proceedings
in the Action, except such proceedings necessary to implement and complete the Settlement.

       33.     Amendment or Modification. This Agreement may be amended or modified only
by a written instrument signed by counsel for all Parties or their successors in interest. This
Agreement may not be discharged except by performance in accordance with its terms or by a
writing signed by the Parties hereto.

        34.    Entire Settlement Agreement. This Agreement and the exhibit hereto constitutes
the entire Agreement among the Parties, and no oral or written representations, warranties or
inducements have been made to any Party concerning this Agreement other than the
representations, warranties, and covenants contained and memorialized in such documents. All
prior or contemporaneous negotiations, memoranda, agreements, understandings, and
representations, whether written or oral are expressly superseded hereby and are of no further force
and effect. No rights hereunder may be waived except in writing.

        35.     Authorization to Enter Into Settlement Agreement. The Parties warrant and
represent that they are authorized to enter into this Agreement and to take all appropriate action
required or permitted to be taken by such Parties pursuant to this Agreement to effectuate its terms,
and to execute any other documents required to effectuate the terms of this Agreement. The Parties
and their counsel shall cooperate with each other and use their best efforts to effect the
implementation of the Agreement. In the event that the Parties are unable to reach resolution on


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the form or content of any document needed to implement this Agreement, or on any supplemental
provisions or actions that may become necessary to effectuate the terms of this Agreement, the
Parties shall seek the assistance the mediator, Stephen Sonneberg, to resolve such disagreement.

        36.     Binding on Successors and Assigns. This Agreement shall be binding upon, and
inure to the benefit of Plaintiff, Defendants, and the Settlement Collective Members and their heirs,
beneficiaries, executors, administrators, successors, transferees, successors, assigns, or any
corporation or any entity with which any party may merge, consolidate or reorganize. The Parties
hereto represent, covenant and warrant they have not directly or indirectly assigned, transferred,
encumbered or purported to assign, transfer, or encumber to any person or entity any portion of
any liability, claim, demand, action, cause of action, or rights herein released and discharged
except as set forth herein.

        37.    Counterparts. This Agreement may be executed in one or more counterparts,
including by facsimile, email, and electronic signature. All executed counterparts and each of them
shall be deemed to be one and the same instrument. All executed copies of this Agreement, and
photocopies thereof (including facsimile and/or emailed copies of the signature pages), shall have
the same force and effect and shall be as legally binding and enforceable as the original.

        38.     No Signature Required by Collective Members. Only the Named Plaintiff,
Defendants, and the respective counsel of each of them will be required to execute this Settlement
Agreement. The Settlement Notice will advise all Settlement Collective Members of the binding
nature of the release and such shall have the same force and effect as if this Settlement Agreement
were executed by each Settlement Collective Member.

        39.     Cooperation and Drafting. The Parties have cooperated in the drafting and
preparation of this Agreement; hence the drafting of this Agreement shall not be construed against
any of the Parties. The Parties agree the terms and conditions of this Agreement were negotiated
at arm’s-length and in good faith by the Parties and reflect a settlement reached voluntarily based
upon adequate information and sufficient discovery and after consultation with experienced legal
counsel.

       40.    Governing Law. This Settlement Agreement shall be governed by and interpreted
according to North Carolina law.

        41.     Jurisdiction of the Court. The Court shall retain jurisdiction with respect to the
interpretation, implementation, and enforcement of the terms of this Settlement and all orders and
judgments entered in connection therewith, and the Parties and their Counsel submit to the
jurisdiction of the Court for this purpose.




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                  IN WITNESS WHEREOF, the Parties and their Counsel have executed this Settlement
            Agreement as follows:

            PLAINTIFF:               _______________________________      Date: _________,
                                                                                6/30       2020
                                     Fredrich Green


            APPROVED AS TO FORM BY PLAINTIFF’S COUNSEL:


                                     _______________________________      Date:06/30
                                                                                30
                                                                                _________, 2020
                                     Sarah R. Schalman-Bergen
                                     Camille Fundora Rodriguez
                                     Krysten Connon
                                     BERGER MONTAGUE PC
                                     1818 Market St., Suite 3600
                                     Philadelphia, PA 19103


                                                                                06/30
                                     _______________________________      Date: _________, 2020
                                     Ryan Allen Hancock
                                     WILLIG, WILLIAMS, & DAVIDSON
                                     1845 Walnut Street 24th Floor
                                     Philadelphia, PA 19103




            DEFENDANTS:              _______________________________      Date: _________, 2020
                                     Amazon.com, LLC



                                     ____________________________________Date: _________, 2020
                                     Amazon Logistics, Inc.



                                     _______________________________      Date: _________, 2020
                                     Valdivia Logistics LLC




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                  IN WITNESS WHEREOF, the Parties and their Counsel have executed this Settlement
            Agreement as follows:

            PLAINTIFF:               _______________________________      Date: _________, 2020
                                     Fredrich Green


            APPROVED AS TO FORM BY PLAINTIFF’S COUNSEL:


                                     _______________________________      Date: _________, 2020
                                     Sarah R. Schalman-Bergen
                                     Camille Fundora Rodriguez
                                     Krysten Connon
                                     BERGER MONTAGUE PC
                                     1818 Market St., Suite 3600
                                     Philadelphia, PA 19103


                                     _______________________________      Date: _________, 2020
                                     Ryan Allen Hancock
                                     WILLIG, WILLIAMS, & DAVIDSON
                                     1845 Walnut Street 24th Floor
                                     Philadelphia, PA 19103




                                                                            July 14, 2020
            DEFENDANTS:              _______________________________      Date: _________, 2020
                                     Amazon.com, LLC



                                                                           July 14, 2020
                                     ____________________________________Date: _________, 2020
                                     Amazon Logistics, Inc.



                                     _______________________________      Date: _________, 2020
                                     Valdivia Logistics LLC




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            APPROVED AS TO FORM BY AMAZON’S COUNSEL:


                                     /s/ Stephanie L. Sweitzer
                                     ______________________________              July 15
                                                                         Date: _________, 2020
                                     Stephanie Sweitzer
                                     Meredith E. Riccio
                                     MORGAN, LEWIS & BOCKIUS LLP
                                     77 West Wacker Drive, Fifth Floor
                                     Chicago, IL 60601


            APPROVED AS TO FORM BY VALDIVIA’S COUNSEL:


                                     ______________________________      Date: _________, 2020
                                     Kelly Margolis Dagger
                                     ELLIS & WINTERS LLP
                                     4131 Parklake Avenue, Suite 400
                                     Raleigh, NC 27612




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      IN WITNESS WHEREOF, the Parties and their Counsel have executed this Settlement
Agreement as follows:

PLAINTIFF:         _______________________________        Date: _________, 2020
                   Fredrich Green


APPROVED AS TO FORM BY PLAINTIFF’S COUNSEL:


                   _______________________________        Date: _________, 2020
                   Sarah R. Schalman-Bergen
                   Camille Fundora Rodriguez
                   Krysten Connon
                   BERGER MONTAGUE PC
                   1818 Market St., Suite 3600
                   Philadelphia, PA 19103


                   _______________________________        Date: _________, 2020
                   Ryan Allen Hancock
                   WILLIG, WILLIAMS, & DAVIDSON
                   1845 Walnut Street 24th Floor
                   Philadelphia, PA 19103




DEFENDANTS:        _______________________________        Date: _________, 2020
                   Amazon.com, LLC



                   ____________________________________Date: _________, 2020
                   Amazon Logistics, Inc.



                   _______________________________              July 8th 2020
                                                          Date: _________,
                   Valdivia Logistics LLC




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                                                   DOCUMENT REQUESTS

                               1.     Any documents referenced in your responses to the above

                         Interrogatories.

APPROVED AS TO FORM BYRESPONSE:
                       AMAZON’SPSNC
                                COUNSEL:
                                    incorporates its General Objections and Limitations.

                         Subject to and without waiving the foregoing objections, PSNC responds that it has
                   ______________________________                  Date: _________, 2020
                        previously produced documents responsive to this request, and is producing
                   Stephanie Sweitzer
                   Meredith E. Riccio
                        additional documents responsive to this request.
                   MORGAN, LEWIS & BOCKIUS LLP
                   77 West Wacker Drive, Fifth Floor
                   Chicago, IL 60601
                               This the 2nd day of December, 2019.

APPROVED AS TO FORM BY VALDIVIA’S COUNSEL:ELLIS & WINTERS LLP


                   ______________________________                          July 8
                                                                    Date: _________,   2020
                                                              ___________________________________
                   Kelly Margolis Dagger                      Paul K. Sun, Jr.
                   ELLIS & WINTERS LLP                        N.C. State Bar No. 16847
                                                              paul.sun@elliswinters.com
                   4131 Parklake Avenue, Suite 400            Kelly Margolis Dagger
                   Raleigh, NC 27612                          N.C. State Bar No. 44329
                                                              kelly.dagger@elliswinters.com
                                                              Post Office Box 33550
                                                              Raleigh, North Carolina 27636
                                                              Telephone: (919) 865-7000
                                                              Facsimile: (919) 865-7010

                                                              Counsel for Defendant PSNC




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                   EXHIBIT A




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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

FREDRICH GREEN, on behalf of
himself and others similarly
situated,                                       Civil Action No. 1:18-cv-1032

               Plaintiff,

vs.

AMAZON.COM, LLC,
AMAZON LOGISTICS, INC., and
VALDIVIA LOGISTICS, LLC,

               Defendants.


                  NOTICE OF COLLECTIVE ACTION SETTLEMENT
                          AND SETTLEMENT AWARD

TO:     NAME
        ADDRESS
        ADDRESS

 The Court authorized this Notice of Collective Action Settlement and Settlement Award check.
    This is not a solicitation. This is not a lawsuit against you, and you are not being sued.

                       PLEASE READ THIS NOTICE CAREFULLY.

1.      Why Should You Read This Notice?

You received this Notice of Settlement (“Notice”) either because you 1) previously completed an
Opt-in Consent Form to join this case, or 2) you did not previously join this case but the records
of Amazon.com, LLC (“Amazon.com”), Amazon Logistics, Inc. (“Amazon Logistics”), and/or
Valdivia Logistics, LLC (“Valdivia”) (collectively, “Defendants”) show you performed work as a
Delivery Associate and were paid by Defendant Valdivia to deliver packages to customers of
Amazon.com in the United States between August 22, 2018 through January 7, 2019 (“Settlement
Collective Members”).

The parties to the lawsuit agreed to a binding settlement of this action, which alleges that
Settlement Collective Members should have been paid for all hours worked, including overtime
compensation, in addition to their day rate, when they worked more than forty (40) hours per week.
On [DATE], 2020, the Court approved the settlement as fair and reasonable.



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This Notice explains the terms of the settlement and your right to your Settlement Award,
which is enclosed with this Notice.

2.     What is this Lawsuit About?

This lawsuit alleges that individuals who work or have worked as Delivery Associates and who
were paid by Defendant Valdivia to deliver packages to customers of Amazon.com in the United
States between August 22, 2018 through January 7, 2019 were paid on a day rate basis without
overtime compensation, and were not paid for all hours worked, including overtime compensation
to which they were entitled under the law. Defendants deny that they failed to pay these individuals
the full amount of compensation they were owed, deny any wrongdoing, and deny any and all
liability and damages to anyone with respect to the allegations made in the lawsuit.

2.     How Is My Settlement Award Calculated?

Under the terms of the Settlement Agreement, Defendants have agreed to pay Two Hundred and
Twelve Thousand Five Hundred Dollars and Zero Cents ($212,500.00) (the “Gross Settlement
Amount”). The Gross Settlement Amount includes amounts to cover: (i) Seven Thousand Five
Hundred Dollars ($7,500.00) to Plaintiff Green for his efforts in bringing and prosecuting this
matter and for his broader release of claims in favor of Defendants (“Service Award”); (ii)
Plaintiff’s Counsel’s attorneys’ fees in the amount of one-third (1/3) of the Gross Settlement
Amount (i.e., $70,833.33), plus Plaintiff’s Counsel’s out-of-pocket costs that are $9,490; and (iii)
a Reserve Fund of Five Thousand Dollars ($5,000.00) to account for disputes by Settlement
Collective Members After deductions of these amounts, what remains of the Gross Settlement
Amount (the “Net Settlement Amount”) has been divided into monetary Settlement Awards to the
Settlement Collective Members.

Your Settlement Award check is enclosed. Please note that your check is valid and negotiable
for 180 days and will automatically expire on [DATE]. Therefore, please remember to cash
or deposit your check AS SOON AS POSSIBLE. After this expiration date, any uncashed
remaining monies will be paid back to Defendants in recognition of the fact that those individuals
who do not cash their settlement checks do not release any claims against the Defendants.

Your Settlement Award was calculated based on the payroll records submitted by Defendants.
Specifically, the settlement payments were calculated as follows:

       The amount of $100 was allocated to each Settlement Collective Member, so every person
       receives at least $100 in exchange for his/her release in this Settlement Agreement. In
       addition to the $100 payment, each Settlement Collective Member received a pro rata
       portion of the Net Settlement Amount, calculated as follows:

       a. For each workweek between August 22, 2018 through January 7, 2019 during which
          you worked four (4) or more days per week, you received two (2) settlement shares, or
          three (3) settlement shares if you performed the work in Massachusetts.

       b. The total number of settlement shares for all Settlement Collective Members was added
          together and the resulting sum was divided into the Net Settlement Amount to reach a


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           per share dollar figure. That figure was then be multiplied by each Settlement
           Collective Member’s number of settlement shares to determine the Settlement
           Collective Member’s Settlement Award.

If you have questions about the amount of your Settlement Award, you may contact the Settlement
Administrator at the contact information below and must submit any disputes by [DATE].

Fifty percent (50%) of your payment represents back wages, and 50% represents liquidated
damages. The Settlement Administrator will issue you an IRS Form W-2 for 50% of this payment
and an IRS Form 1099 for the other 50% of this payment. Neither the Settlement Administrator
nor the Parties can provide you with any tax advice. You should contact your accountant or tax
related advisors for any questions about taxes you may owe on these amounts.

By depositing or cashing your Settlement Award check, you release Defendants; their parent
companies, subsidiaries, affiliates, business units, members, shareholders; and their predecessors
and successors, officers, directors, agents, employees, and assigns of all Fair Labor Standards Act
(“FLSA”) claims as well as claims under North Carolina state law, and Massachusetts state law,
or any other federal, state or local wage and hour law, that accrued while working for Defendants
at any time between August 22, 2018 through January 7, 2019, including, without limitations, all
FLSA claims for unpaid overtime wages, and related claims for penalties, interest, liquidated
damages, attorneys’ fees, costs, and expenses (“Released Claims”).

The Released Claims will be effective upon signing, cashing, or depositing your Settlement Award
check. To the fullest extent allowed by law, by depositing or cashing your Settlement Award
check, you are prohibited from asserting any Released Claims, and from commencing, joining in,
prosecuting, or voluntarily assisting in a lawsuit or adversarial proceeding against the Released
Parties based on the Released Claims. You also agree to not opt-in, withdraw any opt-in, and
dismiss any action or dismiss yourself from any action where you are a claimant, plaintiff, or
appellant against the Released Parties. You also agree to opt-out of any actions if you become
aware of such actions against Released Parties. This prohibition does not prevent you from
testifying in any legally compelled proceeding through service of a subpoena or other government
or legal process.

If you do not deposit or cash your Settlement Award check, you will not release any claims against
Defendants or the Released Parties.

Defendants agree that this Settlement Agreement may not be used to assert collateral estoppel, res
judicata, waiver, or any other claim preclusion of FLSA claims with respect to individuals who
did not specifically release those FLSA claims; however, Defendants do not waive the right to
assert other defenses to those claims regarding timeliness, scope, and/or applicability of
exemptions.




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4.     Who Are The Attorneys Representing Plaintiff And The Settlement Collective?

Plaintiff and the Settlement Collective are represented by the following attorneys:

 Sarah R. Schalman-Bergen                         Ryan Allen Hancock
 Camille Fundora Rodriguez                        WILLIG, WILLIAMS, & DAVIDSON
 Krysten Connon                                   1845 Walnut Street 24th Floor
 BERGER MONTAGUE PC                               Philadelphia, PA 19103
 1818 Market St., Suite 3600
 Philadelphia, PA 19103
 (215) 875-3033
 kconnon@bm.net


5.     How Will the Attorneys for the Settlement Collective Be Paid?

You do not have to pay the attorneys who represent the Settlement Collective separately. The Court
approved an attorneys’ fee and cost payment to Plaintiff’s Counsel in the amount of one-third (1/3)
of the Gross Settlement Amount (i.e., $70,833.33), plus out of pocket costs incurred by Plaintiff’s
Counsel in litigating this action.

6.     Who May I Contact If I Have Further Questions?

IF YOU NEED MORE INFORMATION OR HAVE ANY QUESTIONS, you may contact the
Settlement Administrator at the telephone number or email address listed below or Plaintiff’s
Counsel listed above. Please refer to the Amazon/Valdivia Settlement.

                              Amazon/Valdivia Overtime Settlement
                                          [INSERT]
                                          [INSERT]
                                          [INSERT]

This Notice only summarizes the lawsuit, the settlement and related matters. For more information,
you may inspect the Court’s files at the Office of the Clerk located at the United States District
Court for the Middle District of North Carolina, L. Richardson Preyer Courthouse, 324 W. Market
Street, Greensboro, NC 27401-2544, from 8:00 a.m. to 5:00 p.m., Monday through Friday.




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